198 F.2d 752
    Abraham FREITAG (Plaintiff)v.The STRAND OF ATLANTIC CITY, Inc., a New Jersey Corporation, Emanuel Solomon and Evelyn Solomon, His Wife (Defendants) and United States of America (Intervener) and William L. Taub (Counter-Claimant, Appellant).
    No. 10729.
    United States Court of Appeals Third Circuit.
    September 15, 1952.
    
      Appeal from the United States District Court for the District of New Jersey; Thomas M. Madden, Judge.
    
    
      1
      W. L. Taub, pro se.
    
    
      2
      Irvin Lichtenstein, Camden, N. J., for Freitag.
    
    
      3
      Walter Anderson, Camden, N. J., for Camden Trust Co.
    
    
      4
      Grover C. Richman, Jr., Newark, N. J., for United States.
    
    
      5
      Before BIGGS, Chief Judge, and Goodrich, Circuit Judge.
    
    
      6
      PER CURIAM.
    
    
      7
      The brief with appendix of Taub, counter-claimant, appellant, was due on May 15, 1952. Thereafter the time for filing the brief was extended until July 15, 1952. A second extension was granted him to September 13, 1952. Today the court has made an order granting him a third extension until October 6, 1952.
    
    
      8
      The case is an important one. Taub has at times employed or attempted to employ different counsel but the last two applications for extensions have been made by him pro se. For this reason the court has granted some extensions of time to him with perhaps greater generosity than his excuses merit. We point out that the present extension has taxed patience to the breaking point. If Taub's brief is not filed on or before October 6, 1952, his appeal will be liable to dismissal for want of prosecution.
    
    